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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Gregory Godfrey, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:18−cv−07918
                                                       Honorable Matthew F. Kennelly
Greatbanc Trust Company, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, December 30, 2018:


         MINUTE entry before the Honorable Matthew F. Kennelly: Initial status hearing
is set to 8:45 a.m. on 1/25/2019 before Judge Kennelly, in Chambers, Room 2188. Parties
are to review and comply with Judge Kennelly's standing initial order, which may be
found on his web page, located at http://www.ilnd.uscourts.gov/_assets/_documents/_f
orms/_JUDGES/KENNELLY/INIT−ORD.htm. Counsel for plaintiff(s) are ordered to
cause a copy of this order to be delivered forthwith to each defendant who has not yet
appeared by counsel in the same manner that summons has been or is being served on
each defendant. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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